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                           Cross-Motion Hearing Date: December 10, 2014 at 10:00 a.m. (EST)
                       Cross-Motion Objection Deadline: November 14, 2014 at 4:00 p.m. (EST)
 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                   :
 In re:                                                            :    Chapter 11 Case No.
                                                                   :
 LEHMAN BROTHERS HOLDINGS INC., et al. :                                08-13555 (SCC)
                                                                   :
                                    Debtors.                       :    (Jointly Administered)
                                                                   :
 -------------------------------------------------------------------x

       NOTICE OF LEHMAN BROTHERS HOLDINGS INC.’S CROSS-MOTION TO
                ESTABLISH A PROTOCOL TO RESOLVE CLAIMS
                        FILED BY RMBS TRUSTEES

         PLEASE TAKE NOTICE that, on December 10, 2014 at 10:00 a.m. (EST), or as soon

 thereafter as the matter may be heard, before the Honorable Shelley C. Chapman, United States

 Bankruptcy Judge, in Courtroom 623 of the United States Bankruptcy Court, Southern District of

 New York, One Bowling Green, New York, New York 10004 (the “Hearing”), Lehman Brothers

 Holdings Inc. (“LBHI”) will cross-move for an order, substantially in the form attached as

 Exhibit D to LBHI’s (A) Objection to RMBS Trustees’ Motion to (I) Increase the Reserve to

 $12.143 Billion and (II) Estimate and Allow Their Claims For Covered Loans at $12.143 Billion

 Pursuant to Section 502(c) of the Bankruptcy Code, and (B) Cross-Motion to Establish a

 Protocol to Resolve Claims Filed by RMBS Trustees (filed contemporaneously herewith),

 establishing a protocol to resolve claims filed by the RMBS Trustees (the “Cross-Motion”). The

 Cross-Motion is made pursuant to the Modified Third Amended Joint Chapter 11 Plan of

 Lehman Brothers Holdings Inc. and its Affiliated Debtors (the “Plan”) and sections 105(a) and

 105(d) of the United States Bankruptcy Code.

         PLEASE TAKE FURTHER NOTICE that responses or objections, if any, to the

 Cross-Motion must be made in writing, state with particularity the grounds therefor, conform to
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 the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules for the Southern

 District of New York, be filed electronically in text searchable portable document format (PDF)

 with the Court in accordance with General Order M-399 (General Order M-399 can be found at

 www.nysb.uscourts.gov, the official website for the Court), by registered users of the Court’s

 case filing system and by all other parties in interest (with a hard-copy delivered directly to the

 Judge’s Chambers), and be served in accordance with General Order M-399, and upon (A) the

 chambers of the Honorable Shelley C. Chapman, One Bowling Green, New York, New York

 10004, Courtroom 623; (B) Weil Gotshal & Manges LLP, 767 Fifth Avenue, New York, New

 York 10153 (Attn: Richard P. Krasnow, Esq., Lori R. Fife, Esq., Jacqueline Marcus, Esq., Shai

 Y. Waisman, Esq. and Robert J. Lemons, Esq.), attorneys for Debtors; (C) the Office of the

 United States Trustee for the Southern District of New York, U.S. Federal Office Building, 201

 Varick Street, Suite 1006, New York, New York 10014 (Attn: William K. Harrington, Esq.,

 Susan D. Golden, Esq., and Andrea B. Schwartz, Esq.); (D) Milbank, Tweed, Hadley & McCloy

 LLP, 1 Chase Manhattan Plaza, New York, New York 10005 (Attn: Dennis F. Dunne, Esq.,

 Wilbur F. Foster, Jr., Esq., Dennis C. O’Donnell, Esq., and Evan R. Fleck. Esq.), attorneys for

 the official committee of unsecured creditors; (E) Willkie Farr & Gallagher LLP, 787 Seventh

 Avenue, New York, New York 10019 (Attn: Paul V. Shalhoub, Esq. and Todd G. Cosenza,

 Esq.), attorneys for LBHI and certain of its affiliates; (F) Jones & Keller, P.C., 1999 Broadway,

 Suite 3150, Denver, Colorado 80202 (Attn: Michael A. Rollin, Esq. and Maritza Dominguez

 Braswell, Esq.), attorneys for LBHI and certain of its affiliates; (I) the attorneys for any other

 official committee(s) that may be appointed in these cases; and (H) any person or entity with a

 particularized interest in this Cross-Motion; and so as to be actually filed and received no later

 than November 14, 2014 at 4:00 p.m. (EST) (the “Objection Deadline”).




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        PLEASE TAKE FURTHER NOTICE that if no responses or objections are received

 by the Objection Deadline, the relief may be granted as requested in the Cross-Motion without

 further notice or a hearing.

        PLEASE TAKE FURTHER NOTICE that you need not appear at the Hearing if you

 do not object to the relief requested in the Cross-Motion.

        PLEASE TAKE FURTHER NOTICE that the Hearing may be continued or adjourned

 from time to time without further notice other than an announcement of the adjourned date or

 dates at the Hearing or at a later hearing.

 Dated: October 15, 2014
        New York, New York

                                               /s/ Todd G. Cosenza
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                                               Holdings Inc. and certain of its affiliates




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                            Cross-Motion Hearing Date: December 10, 2014 at 10:00 a.m. (EST)
                        Cross-Motion Objection Deadline: November 14, 2014 at 4:00 p.m. (EST)

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                   :
 In re:                                                            :    Chapter 11 Case No.
                                                                   :
 LEHMAN BROTHERS HOLDINGS INC., et al. :                                08-13555 (SCC)
                                                                   :
                                    Debtors.                       :    (Jointly Administered)
                                                                   :
 -------------------------------------------------------------------x


   LEHMAN BROTHERS HOLDINGS INC.’S (A) OBJECTION TO RMBS TRUSTEES’
       MOTION TO (I) INCREASE THE RESERVE TO $12.143 BILLION AND
      (II) ESTIMATE AND ALLOW THEIR CLAIMS FOR COVERED LOANS
           AT $12.143 BILLION PURSUANT TO SECTION 502(C) OF THE
        BANKRUPTCY CODE, AND (B) CROSS-MOTION TO ESTABLISH A
         PROTOCOL TO RESOLVE CLAIMS FILED BY RMBS TRUSTEES




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                                  Attorneys for Debtors Lehman Brothers
                                  Holdings Inc. and Certain of its Affiliates
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 TO THE HONORABLE SHELLEY C. CHAPMAN,
 UNITED STATES BANKRUPTCY JUDGE:

        Lehman Brothers Holdings Inc. (“LBHI” or the “Plan Administrator”) and Structured

 Assets Securities Corporation (“SASCO”) (together, and collectively with their affiliated debtors

 in the above-captioned cases, “Lehman” or the “Debtors”), hereby object to that certain RMBS

 Trustees’ Motion to (I) Increase the Reserve to $12.143 Billion (the “Reserve Motion”) and (II)

 Estimate and Allow Their Claims for Covered Loans at $12.143 Billion Pursuant to Section

 502(c) of the Bankruptcy Code (the “Estimation Motion,” together with the Reserve Motion, the

 “Motions”), filed August 22, 2014. Lehman also cross-moves to implement a claims resolution

 protocol to expeditiously reconcile and resolve the RMBS Claims (the “Cross-Motion”). In

 support of the relief sought herein, Lehman respectfully states as follows:

                                 PRELIMINARY STATEMENT

        1.      Nearly five years ago, various trustees for certain residential mortgage-backed

 securitization trusts (the “RMBS Trustees”) filed proofs of claim asserting approximately $37

 billion in repurchase claims against LBHI and SASCO for damages allegedly incurred by the

 trusts that issued residential mortgage-backed securities (the “RMBS Claims”). The RMBS

 Trustees allege that LBHI and SASCO breached various representations and warranties and

 provided deficient mortgage loan files when they sold approximately 1.8 million mortgage

 loans into 405 residential mortgage-backed securitization trusts (the “RMBS Trusts”), and that

 these purported breaches give rise to billions and billions of dollars of claims. The RMBS

 Trustees have had at least seven years to comply with the letter and spirit of the underlying

 governing agreements (the “Governing Agreements”),1 which required the RMBS Trustees to


 1
        The Governing Agreements include the underlying Trust Agreements and Mortgage Loan Sale and
        Assignment Agreements.



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 identify and present to LBHI or SASCO those loans containing alleged deficiencies. Yet, the

 RMBS Trustees repeatedly failed to do so. Instead, they filed the Reserve Motion and the

 Estimation Motion.

        2.      Together, the RMBS Trustees’ Motions present the RMBS Trustees’ new

 twofold strategy. First, the RMBS Trustees will attempt to tie up Lehman’s distributable cash

 — thus imperiling significant distributions to other creditors — by reneging on the parties’

 court-ordered agreement to a $5 billion reserve for the RMBS Claims (“Reserve Order”)

 (Docket No. 25643). They now seek to require that Lehman more than double its existing

 reserve. Second, having persistently failed to meet their burden to provide individualized proof

 for their claims — proof that is expressly required by the Governing Agreements and to which

 Lehman is contractually entitled — the RMBS Trustees now ask the Court to relieve them of

 that burden altogether by summarily estimating their claims at $12.143 billion for allowance

 purposes, based on an opinion articulated in a flawed expert report. Given that they have failed

 for seven years to abide by their obligations, the RMBS Trustees should not at this advanced

 stage be permitted to disrupt the distribution of the Lehman estate, or to take an estimation-

 based short cut toward claim allowance in violation of the Governing Agreements. As a result,

 both Motions should be denied.

        3.      The time has come to resolve the RMBS Claims. As set forth below, the Plan

 Administrator proposes a loan-by-loan claim reconciliation protocol. In June of this year, the

 Court established an alternative dispute resolution process to facilitate the resolution of

 Lehman’s claims against thousands of counter-parties that sold Lehman deficient mortgage

 loans.2 These claims were based upon loan files that Lehman sold to the Federal National


 2
        See generally Alternative Disputes Resolution Procedures Order for Indemnification Claims of the Debtors
        Against Mortgage Loan Sellers (Dkt. No. 45277) (approving ADR procedures for estate claims against loan


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 Mortgage Association (“FNMA”) and the Federal Home Loan Mortgage Corporation

 (“FHLMC,” together with FNMA, the “GSEs”). As required by the agreements at issue in such

 claims, the Plan Administrator is pursuing — on a loan-by-loan basis — its claims against the

 sellers of those loans. Similarly, by this Cross-Motion, the Plan Administrator asks the Court

 to impose this same approach (which is required by the Governing Agreements) on the RMBS

 Trustees.

         The Reserve Motion

         4.      The first prong of the RMBS Trustees’ most recent strategy is to reopen an

 agreement the parties reached and this Court ordered, which fixed the reserve for the RMBS

 Claims. Presumably, the RMBS Trustees believe that they can coerce a favorable resolution of

 their claims by freezing billions of dollars of Lehman’s distributable cash and interfering with

 distributions to other creditors.

         5.      In January 2012, having not yet been provided with any additional substantiation

 for the RMBS Claims (and recognizing the need to facilitate distributions to creditors holding

 allowed claims), Lehman brought a motion to estimate the RMBS Claims at $2.4 billion solely

 for purposes of establishing a claims reserve pursuant to the Modified Third Amended Joint

 Chapter 11 Plan of Lehman Brothers Holdings Inc. and its Affiliated Debtors (the “Plan”) (the

 “Lehman Estimation Motion” (Dkt. No. 24254)). The Lehman Estimation Motion was based

 on Lehman’s analysis valuing the RMBS Claims — if all proven — at between $1.1 billion and

 $2.4 billion.

         6.      Various RMBS Trustees filed written objections asserting that the claims should

 be estimated at $15.3 billion for reserve purposes. (See Dkt. Nos. 24476, 24483, 24484, 24485,


         sellers arising from RMBS claim settlements with the GSEs). (Exhibit A)



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 24491 & 24492) After oral argument before Judge Peck on January 26, 2012 (Dkt. No. 24756),

 the parties consensually resolved the Lehman Estimation Motion, agreeing to estimate the

 RMBS Claims at $5 billion for reserve purposes. The Court then entered the Reserve Order

 embodying the parties’ agreement to an estimated $5 billion claim for reserve purposes on

 February 22, 2012.

        7.      Had the Plan Administrator believed that the actual reserve amount should have

 been set higher than its projections of $1.1 billion to $2.4 billion, or believed that the reserve

 should have been set higher than the agreed upon $5 billion, it would have agreed to a higher

 reserve. The Plan Administrator’s goal in connection with the establishment of reserves is to

 ensure that the estate reserves appropriate amounts for all claims, meaning that such reserves

 can be set neither too high nor too low. It is this mandate that guided the agreement to the $5

 billion reserve for the RMBS Claims, and that continues to guide the Plan Administrator’s

 actions in this matter. The $5 billion figure was accepted as a compromise value for reserve

 purposes, even if it was substantially higher than what its internal calculations project as the

 actual value of the RMBS Claims. Nothing has changed that affects the Plan Administrator’s

 view that a $5 billion reserve is much more than necessary for the RMBS Claims.

        8.      Based on the parties’ agreement and the Reserve Order, the issue of the size of

 the reserve is closed. Now, the RMBS Trustees — having failed for years to provide any

 additional support for their claims — have filed the Reserve Motion and improperly seek to

 revisit the issue. Citing purported new and improved expert analyses, the RMBS Trustees seek

 to more than double the existing $5 billion reserve to $12.143 billion.

        9.      The absurdity of the RMBS Trustees’ proposed reserve is seen clearly through

 the lens of settlements of other RMBS claims that the RMBS Trustees themselves have




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 endorsed as reasonable.        In recent years, other RMBS sponsors (including most recently

 JPMorgan and Citibank) have agreed to settlements whereby claims would be allowed against

 those sponsors that fell within a range of 1.5% - 1.9% of the original principal balance of the

 underlying trusts. If applied to the $127 billion of original principal balance of the subject

 Lehman sponsored trusts, the RMBS Trustees’ claim would benchmark between $1.96 billion

 and $2.44 billion, which is well below the amount being sought by the RMBS Trustees in this

 case. By suggesting that the RMBS claims should be valued at $12.143 billion, the RMBS

 Trustees would have the Court believe that they accepted settlements with the other banks that

 are five to six times less than the value of their actual claims.3

         10.     Having sat on their rights for years, the RMBS Trustees now seek to overturn

 the parties’ so ordered compromise on a $5 billion reserve.                      The Reserve Motion is

 inappropriate and should be denied.

         11.     First, the Reserve Motion improperly seeks to re-litigate the issue of the reserve

 amount, notwithstanding the fact that the existing reserve was previously agreed to by the

 parties and so ordered by this Court following briefing, a hearing, and negotiations among the

 parties. In connection with the Lehman Estimation Motion, the RMBS Trustees made a

 deliberate choice — to settle with Lehman and set the reserve at $5 billion, rather than submit

 proof for, and seek immediate resolution of, their claims. Thus, the RMBS Trustees are

 contractually bound by the terms of the Reserve Order to which they agreed, and the Reserve

 Order precludes further litigation concerning the reserve.

         12.     Second, to the extent the Court even considers the RMBS Trustees’ requested

 adjustment to the reserve, given the stipulated Reserve Order, the Motion must be evaluated


 3
         Lehman’s analysis of these benchmarks is based upon the best publicly available information regarding the
         JPMorgan and Citibank settlements.


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 under Federal Rule of Civil Procedure 60 — Relief from Judgment or Order.4 Under Rule

 60(b) — which has been applied to stipulated orders, as well as bankruptcy court orders setting

 the size of disputed claims reserves — the Reserve Motion must be denied. Not only is it

 untimely, but it also woefully fails to meet the onerous legal standard for relief from a

 stipulated order. Moreover, even if the Court were to view the Reserve Order as interlocutory

 in nature (and potentially outside the ambit of Rule 60), the Reserve Motion nonetheless fails to

 demonstrate any of the bases upon which interlocutory orders may be modified.

        The Estimation Motion

        13.     The second prong of the RMBS Trustees’ strategy is to seek a fast track toward

 a massive and inflated recovery by requesting that their claims be estimated at $12.143 billion

 not merely for reserve purposes, but also for purposes of allowance. The RMBS Trustees’

 professed need for a truncated claims resolution process at this stage is particularly remarkable

 given that they have had years to present alleged loan deficiencies to Lehman as required by the

 Governing Agreements, and have failed to do so. They now seek to deprive the Lehman estate,

 the estate, and ultimately other creditors, of the full loan-level claims reconciliation process

 mandated by the Governing Agreements. That process is necessary so as to not jeopardize

 what may be billions of dollars of downstream claims that the Plan Administrator may bring (as

 described below).5


 4
        Federal Rule of Civil Procedure 60 is made applicable here by Federal Rule of Bankruptcy Procedure 9024.
 5
        In the ResCap bankruptcy, ResCap settled with its RMBS creditors without any loan-by-loan proof, despite
        the fact that such proof was required by the applicable governing agreements. In subsequent downstream
        litigation, the loan originators (against whom ResCap has the contractual right to put-back the claim
        amounts and receive indemnification) have defended on grounds that ResCap must prove its downstream
        claims loan-by-loan. See, e.g., Residential Funding Co., LLC v, Mortg. Outlet, Inc., No. 13-CV-3447
        (PJS/JSM), 2014 WL 4954645, at *2 (D. Minn. Oct. 1, 2014). Most Minnesota courts addressing the
        ResCap downstream claims have generally allowed ResCap to plead claims without identifying all
        defective loans; importantly, however, those courts have also stated that ResCap will be required to prove
        its claims loan-by-loan. (See, e.g., Residential Funding Co., LLC v. Americash, No. 13-3460 (DSD/JJG),


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        14.      Beginning in February 2011, Lehman objected to the RMBS Claims because

 they lacked support and were grossly inflated. In connection with Lehman’s objection, Judge

 Peck issued a clear admonition that allowance of the RMBS Claims would ultimately depend

 on the RMBS Trustees’ ability to marshal the necessary proof to establish the elements of such

 claims. As Judge Peck noted, “if there are claims, the trustees would be put to their proof,

 and whether they can actually succeed in carrying a burden of proof establishing residential and

 mortgage loan breaches . . . would be extraordinarily difficult.”6 (See 6/30/11 Hr’g. Tr. (Dkt.

 No. 18251) at 71:11-16 (emphasis added) (Exhibit B))

        15.      This conclusion presented the RMBS Trustees with a problem. They undertook

 and priced their role of RMBS Trustee as they would have any other indenture trustee

 assignment. The Governing Agreements, however, imposed greater responsibilities on the

 RMBS Trustees with higher attendant costs. Rather than getting to the business of fulfilling

 their contractual responsibility to identify either specific loans containing alleged breaches of

 representations and warranties, or deficient loan files, and to present the same to Lehman for (i)

 review, (ii) rebuttal, and (iii) if valid, repurchase and subsequent mitigation of any loss through

 recovery from the loan originator, the RMBS Trustees elected to avoid that obligation. Now

 they come forward and request estimation of their claims for the purpose of allowance, which is

        2014 WL 3577312, at *3, n.5 (D. Minn. July 21, 2014); Mortg. Outlet, Inc., 2014 WL 4954645, at *2).
         Lehman has always acknowledged that as it must be presented with loan-level proof before it incurs
        liability, so too must it prosecute its downstream claims only with loan-level proof. Accordingly, Lehman
        has — from the outset of these cases — insisted that repurchase claimants present their claims for loan-
        level reconciliation to ensure that: (i) Lehman does not disburse more estate assets than those claimants are
        entitled to under the Governing Agreements and (ii) Lehman’s downstream indemnification litigation may
        proceed expeditiously.
 6
        At the same June 30, 2011 hearing before Judge Peck, counsel to the creditors committee also voiced
        support for the notion that the RMBS Trustees should be required to provide loan-level proof for their
        claims. (See 6/30/11 Hr’g. Tr. at 70:2-7 (“But I think ultimately it should be the claimants’ burden . . . to
        determine which claims they could ultimately prove, and not put that burden on the estate and the Court to
        establish some kind of process where they would essentially get a free pass to prove that over a period of
        time. . . .”) (Ex. B))



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 a short-circuited claims resolution process to avoid compiling the loan-level proof required by

 the Governing Agreements.

        16.     In short, the RMBS Trustees accepted a responsibility when they agreed to serve

 in the role of “Trustee.”    They cannot now shirk that responsibility because the cost or

 complications exceeded their expectations. Their request to estimate the RMBS Claims at

 $12.143 billion for allowance purposes disregards — and indeed eviscerates — the bargains

 struck in the Governing Agreements with respect to claim reconciliation. With the Estimation

 Motion, the RMBS Trustees impermissibly seek to pick and choose those aspects of the

 Governing Agreements they find advantageous. They want to recover losses associated with

 breached representations and warranties, as well as deficient loan files, but they want to avoid

 the costs of identifying them.

        17.     Notably, unlike the RMBS Trustees, FNMA and FHLMC, chose to follow the

 agreed upon process for proving loan deficiencies. The GSEs delivered thousands of defective

 loan files to the Plan Administrator in support of their claims. Even though they are quasi-

 governmental agencies in receivership and are under pressure to expeditiously resolve all

 legacy issues with limited resources, the GSEs properly chose to proceed on that path.

 Ultimately, the GSEs choice to comply with their obligations under the governing agreements

 (rather than avoid them) paved the way for a fair settlement of their claims. Conversely, the

 RMBS Trustees have chosen to ignore their very same obligations, and now ask the Court to

 endorse that choice and estimate their claims.

        18.     The Estimation Motion should be denied for a variety of reasons.           First,

 estimation is not applicable in this context because the RMBS Claims do not meet the

 requirements of section 502(c)(1) of title 11 of the United States Code (the “Bankruptcy Code”)




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 that a claim be either contingent or unliquidated in order for estimation to apply. While

 estimation of the RMBS Claims previously was appropriate for purposes of establishing a

 disputed claims reserve, it is impermissible where, as here, the RMBS Trustees are seeking to

 estimate and allow the claims for distribution purposes. Section 502(c) also does not apply

 because resolving the claims will not unduly delay administration of the case, notwithstanding

 the RMBS Trustees’ assertions to the contrary. This is particularly true if an expedited,

 achievable loan-level review process is implemented, as requested by the Cross-Motion.

         19.     Second, granting the Estimation Motion would materially and adversely affect

 the Plan Administrator’s ability to mitigate the losses represented by the RMBS Claims by

 pursuing Lehman’s claims against the downstream originators who made mortgage loan-level

 representations to Lehman.7 The Plan Administrator will only be in a position to mitigate its

 losses if a loan-level review process is implemented; without such a process, Lehman could,

 much like ResCap (supra n.5), be faced with numerous, needless and costly challenges to its

 contractual mitigation rights. Additionally, estimation would also allow the RMBS Trustees to

 avoid the cost of that process, arguably rewarding them for their failure to expeditiously prove

 their claims in the first place.

         20.     Third, any delay has been of the RMBS Trustees’ making. Their rationale for

 estimation is that complying with the underlying Governing Agreements would take a long

 time. However, had the Trustees done what they committed to do in a timely manner from the

 outset, the review would have already been completed. In other words, the RMBS Trustees

 created the delay on which they base their requested relief. And now, to speed up a process

 they delayed — and to avoid costs they contractually agreed to incur — they insist estimation is

 the only way to proceed. As a consequence, the RMBS Trustees’ requested $12.143 billion
 7
         See supra notes 2 & 5.


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 estimation for claim allowance should be denied.

        Lehman’s Cross-Motion

        21.     By this Cross-Motion, the Plan Administrator requests that the Court impose a

 detailed timeline and claims resolution protocol, in the form attached as Exhibit C to this

 Objection (“RMBS Protocol”).         The RMBS Protocol, among other things, includes a

 requirement that the RMBS Trustees deliver to the Plan Administrator within sixty (60) days,

 any and all loan files that the RMBS Trustees believe may be put back to Lehman under the

 Governing Agreements. The Plan Administrator also requests that the Court disallow any

 claim amount not substantiated by the loan files delivered within the sixty (60) day period.

        22.     A deadline for requiring the RMBS Trustees to produce proof of their claims in

 this particular instance is fair and reasonable. While the Plan Administrator does not know

 what the RMBS Trustees have been doing for the past five years, the answer is one of two

 things. Either the RMBS Trustees have been collecting, reviewing, and compiling loan files

 associated with defaulted loans, or they have not. If they have been compiling the loan files,

 then submitting proof by delivering loan files will not impose any hardship. If, as the Plan

 Administrator suspects, the RMBS Trustees have not been fulfilling their responsibilities to

 identify deficient loan files, then it is fair and equitable to now impose a cut-off date on the

 RMBS Trustees. Indeed, the Plan Administrator has been asking the RMBS Trustees to

 produce loan files for review and reconciliation since 2010.

        23.     If the RMBS Trustees have been avoiding their responsibilities and the

 associated costs, this failure now threatens to delay the Plan Administrator’s efforts to continue

 to make meaningful distributions to all creditors. For this reason, the RMBS Trustees should

 be required to comply with an expedited schedule for presenting deficient loan files or suffer




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 claim disallowance.

        24.     Accordingly, in addition to denying both the Reserve Motion and the Estimation

 Motion, the Plan Administrator respectfully cross-moves for an order establishing the RMBS

 Protocol. Not only will implementation of the Plan Administrator’s requested RMBS Protocol

 effectuate the contractual repurchase and indemnity requirements of the Governing

 Agreements, but it will also facilitate an efficient claims resolution process that will obviate the

 need for extensive and expensive fact and expert discovery. The proposed protocol is an

 alternative to extensive litigation concerning the RMBS Claims, and it is the mechanism

 provided for by the Governing Agreements. To the extent the Court does not implement the

 protocol, it will need to determine the amount at which the RMBS Claims will be allowed.

 However, that issue is not currently before the Court as Lehman has not had an opportunity to

 provide substantive responses to the RMBS Trustees’ flawed analysis and purported expert

 reports.

                                          JURISDICTION

        25.     This Court has subject matter jurisdiction to consider and determine this matter

 pursuant to 28 U.S.C. § 1334, Article XIV of the Plan, and ¶ 77 of the order confirming the

 Plan. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

                       FACTUAL AND PROCEDURAL BACKGROUND

        26.     Commencing on September 15, 2008, and periodically thereafter (as applicable,

 the “Commencement Date”), LBHI and certain of its subsidiaries commenced with this Court

 voluntary cases under chapter 11 of title 11 of the Bankruptcy Code. These chapter 11 cases

 have been consolidated for procedural purposes only, and are being jointly administered

 pursuant to Rule 1015(b) of the Federal Rules of Bankruptcy Procedure.

        27.     On July 2, 2009, this Court entered an order setting forth the procedures and


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 deadlines for filing proofs of claim in these cases (the “Bar Date Order”). (Dkt. No. 4271) The

 Debtors provided notice of the September 22, 2009 bar date (the “Bar Date”) to all known

 creditors and potential creditors in accordance with the requirements of the Bar Date Order.

        28.     On or around the Bar Date, the RMBS Trustees filed the RMBS Claims

 asserting approximately $37 billion in repurchase claims premised on allegations that LBHI or

 SASCO: (i) breached various representations and warranties regarding the quality and

 characteristics of hundreds of thousands of mortgage loans, and (ii) provided deficient

 mortgage loan files to the RMBS Trusts, when they sold approximately 1.8 million mortgage

 loans into 405 residential mortgage-backed securitization trusts.8

        29.     The RMBS Claims include broad allegations regarding the obligations of LBHI

 and SASCO under the Governing Agreements, but only identified approximately 4,700 specific

 mortgage loans containing alleged breaches totaling approximately $209 million — a miniscule

 portion of the alleged $37 billion in alleged claims. None of the remaining claims identify any

 damages or provide any documentation supporting liability, as is required by the Bar Date

 Order and the underlying Governing Agreements.9

        30.     In a good faith effort to quantify the RMBS Trustees’ valid claims, the Plan

 Administrator began contacting each of the RMBS Trustees during the summer of 2010 and

 requested that mortgage loan-level evidentiary support be delivered no later than December

 31st of that year. The RMBS Trustees supplied some limited mortgage loan data, but otherwise

 admitted that they had not identified many specific breaches and chose not to expend any

 further effort to identify those purported breaches.

 8
        At issuance, the mortgage loans had a collective unpaid principal balance of approximately $344.4 billion.
        As of September 25, 2014, approximately 299,698 such loans remained outstanding, with an unpaid
        principal balance of approximately $58.2 billion.
 9
        A more detailed description of the RMBS Claims is set forth below.



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        31.     Except as to those relatively few loans for which the RMBS Trustees provided

 some documentary support, the RMBS Claims otherwise failed to satisfy the documentary

 support requirements of the Bar Date Order and the Bankruptcy Code, as well as the Governing

 Agreements, thus preventing the Debtors from evaluating the merits of the claims. As a result,

 on March 14, 2011, the Plan Administrator filed the One Hundred Ninth Omnibus Objection to

 Claims (Insufficient Documentation) (“Insufficient Documentation Objection”) (Dkt. No.

 15008) seeking to disallow and expunge the RMBS Claims on the basis that the RMBS

 Trustees violated the Bar Date Order by not providing sufficient supporting documentation.

 The Insufficient Documentation Objection was just one of a number of objections LBHI filed

 based on similar violations by the RMBS Trustees. (See, e.g., Dkt. Nos. 14492, 14493, 14494,

 & 16079)

        32.     In response to the Plan Administrator’s objections, (i) the Bank of New York

 Mellon, as trustee (“BNYM”), permitted all of its claims to be expunged, (ii) Hongkong and

 Shanghai Banking Corporation, as trustee (“HSBC”), permitted all of its claims to be expunged

 except for those relating to identified breaches in 15 loans and (iii) Bank of America, N.A., as

 trustee, transferred nearly all of its claims to U.S. Bank, N.A. (“U.S. Bank”) and Citibank,

 N.A./Wilmington Trust Company (“Citibank/Wilmington”) as successor trustees.                    Only

 Citibank/Wilmington, Deutsche Bank National Trust Company (“Deutsche Bank”), U.S. Bank,

 and Wells Fargo Bank, N.A. (“Wells Fargo”) challenged the objections.

        33.     On June 30, 2011, the Court held a hearing on the Plan Administrator’s motions

 to disallow U.S. Bank and Citibank/Wilmington’s claims, and ultimately dismissed more than

 130 claims.10 (See 6/30/11 Hr’g. Tr. (Dkt. No. 18251) (Exhibit B)) At the conclusion of that


 10
        At that time, LBHI only pressed its objections against U.S. Bank and Citibank/Wilmington as they
        comprised the largest claims.


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 hearing, the Court reserved decision as to the remaining claims, noting that “if there are claims,

 the trustees would be put to their proof, and whether they can actually succeed in carrying a

 burden of proof establishing residential and mortgage loan breaches . . . would be

 extraordinarily difficult.” (Id. at 71:12-17 (emphasis added))

        34.     On December 6, 2011, the Court approved the Plan, under which available cash

 is to be distributed to LBHI’s unsecured creditors. (Dkt. No. 23023)

        35.     In January 2012, the Plan Administrator moved to estimate the RMBS Claims

 for reserve purposes only. (Dkt. No. 24254) Using a seven-step methodology, the Plan

 Administrator estimated that the amount of the RMBS Claims — if able to be proven — would

 fall between $1.1 and $2.4 billion. Accordingly, the Plan Administrator proposed a reserve of

 $2.4 billion. (Id. at 12-13) This estimate was solely for purposes of establishing a reserve, and

 it was not an estimate of the Debtors’ likely or potential liability. The RMBS Trustees

 objected, contending that the reserved amount should be at least $15.3 billion. The parties

 ultimately agreed to estimate the RMBS Claims at $5 billion for the purpose of establishing

 reserves under the Plan, and that such amount would be allocated 95% to LBHI and 5% to

 SASCO. On February 22, 2012, this Court entered the Reserve Order, finding that it was “in

 the best interests of [the Debtors], their creditors and all parties in interest.” (Dkt. No. 25643)

        36.     When the Reserve Order was entered in February 2012, the Plan Administrator

 believed that the actual amount of the RMBS Claims would be significantly less than $5

 billion. However, the $5 billion reserve was consented to by the Plan Administrator to advance

 the chapter 11 proceedings and to allow LBHI to make meaningful distributions to creditors

 under the Plan.

        37.        The Plan became effective on March 6, 2012. Pursuant to the Plan, the Plan




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 Administrator is authorized to reconcile claims asserted against the Debtors and to make

 distributions to creditors.

         38.     On August 22, 2014, the RMBS Trustees spontaneously filed the Reserve

 Motion requesting that the existing $5 billion reserve be more than doubled to $12.143 billion.

 Seeking to circumvent the loan-by-loan claims process prescribed by the Governing

 Agreements, the Motion also requests — based on sampling performed by the RMBS Trustees’

 experts and a series of flawed assumptions — that the RMBS Claims be summarily estimated

 and allowed in the amount of $12.143 billion. As discussed above, however, both the Reserve

 Motion and Estimation Motion apply to only 255 of the 405 trusts at issue, meaning that the

 Motions do not offer a final adjudication of all of the RMBS Claims.11

         39.     In response to the Motions, the Plan Administrator files this Objection and

 Cross-Motion. The RMBS Trustees’ Motions should be denied in their entirety because they

 are improper and otherwise set forth no supportable basis upon which to increase the reserve or

 to estimate the RMBS Claims for allowance purposes. Moreover, the reserve should remain at

 $5 billion as required by the stipulated Reserve Order. Pursuant to the Bar Date Order and the

 Governing Agreements, the RMBS Trustees should be compelled — pursuant to Lehman’s

 proposed RMBS Protocol and on an expedited but reasonable timeframe — to put forth the

 proof required by the underlying documentation (and the Bankruptcy Code and Bankruptcy

 Rules) to establish the validity of their claims. If they are unable to do so within the timeline

 established by the Court, the RMBS Claims should be automatically disallowed and expunged

 without the need for further proceedings.




 11
         By confining their Reserve and Estimation Motions to Covered Loans, the RMBS Trustees have effectively
         abandoned claims concerning Transferor-Loans (infra ¶¶ 46-52).


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                                       RELIEF REQUESTED

        40.     Lehman respectfully requests that the RMBS Trustees’ Motions to immediately

 increase the reserve to $12.143 billion, and to estimate and allow the RMBS Claims in the

 amount of $12.143 billion, be denied in their entirety.

        41.     Lehman also requests that the Court enter an order, substantially in the form

 attached hereto as Exhibit D and pursuant to Section 8.4 of the Plan and sections 105(a) and

 105(d) of the Bankruptcy Code, implementing the RMBS Protocol and requiring timely

 resolution of the RMBS Claims.

                           THE RMBS UNDERLYING THE CLAIMS

        A.      The Make-Up of an RMBS.

        42.     A residential mortgage-backed security or “RMBS” is an asset-backed security

 secured by a discrete pool of residential mortgage loans aggregated by sponsors and sold into

 trusts. The proceeds from the underlying mortgage loans are utilized to make payments of

 interest and principal on the RMBS. In connection with the sale of mortgage loans into trusts,

 numerous representations and warranties are made by the selling entities to the trust relating to

 the quality and nature of the mortgage loans, the borrowers and the underlying mortgaged

 properties.   The Governing Agreements for these transactions (Mortgage Loan Sale and

 Assignment Agreements, and Trust Agreements or Sale and Servicing Agreements) set forth

 the respective rights and obligations of the parties to the agreements,12 such as providing for

 repurchase obligations and establishing the requirements that trigger such obligations.

        B.      The Repurchase Claims Against LBHI.

        43.     The gravamen of the RMBS Claims against LBHI is that LBHI breached


 12
        Typical examples of these agreements are attached hereto in relevant part as Exhibit E and Exhibit F
        respectively.


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 mortgage loan-level representations and warranties in the Governing Agreements. To require

 LBHI to compensate the trusts for their losses, the Governing Agreements specifically require

 RMBS Trustees to prove each of the following for each mortgage loan: (1) a breach of a

 representation and warranty; (2) that the breach materially and adversely affected the value of

 the mortgage loan; and (3) that prompt notice of the breach was provided to LBHI.

 (Ex. E § 1.04(d), Ex. F § 2.04)     Importantly, the Governing Agreements unambiguously

 provide that these elements must be proven for each mortgage loan. As a result, LBHI is

 contractually entitled to demand this individualized loan level proof from the RMBS Trustees.

        44.     By way of example, each mortgage loan sale and assignment agreement includes

 a voluminous list of representations and warranties regarding the mortgage loans. A trustee

 could have an actionable claim where a mortgage loan seller breached a specific representation,

 e.g. the borrower lied about borrower’s income or debts or made other misrepresentations on

 the borrower’s mortgage loan application. However, a breach alone does not trigger a claim.

 The trust only has a valid claim if the breach has a material and adverse effect on the value of

 the related mortgage loan. This claim element can be viewed as similar to traditional “but-for”

 causation. Importantly, any number of factors exclusive to alleged breaches may cause

 mortgage loans to lose value, such as (i) borrower loss of income sources, (ii) borrower illness

 or other financial hardship, or (iii) a borrower decision to walk away from “upside down”

 mortgages.

        45.     The RMBS Trustees ignore the impact of economic factors affecting the

 performance of the mortgage loans in the trusts. Instead, they attribute the cause of the trusts’

 losses to hypothetical, undocumented and unproven breaches of representations and warranties

 by LBHI and SASCO.




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         46.    The Governing Agreements also identify and determine the particular party that

 is obligated to repurchase a mortgage loan in the event of a breach. Depending on which party

 made certain representations to the trusts, the originator or seller unaffiliated with LBHI of the

 mortgage loan is liable. In other situations, LBHI, or an affiliate, as the seller of the mortgage

 loan may be liable. In fact, with respect to approximately 65% of all mortgage loans for which

 the RMBS Trustees asserted a claim, the material representations were made by parties

 unaffiliated with LBHI, and accordingly, LBHI bears no, or extremely limited, potential

 liability.

         47.    Generally, LBHI acquired mortgage loans that were subsequently sold to the

 trusts from two sources: (1) the majority of mortgage loans in the LBHI-sponsored

 securitizations came from third-party originators referred to as “Transferors” who sold

 mortgage loans on an on-going or “flow” basis to LBHI through Aurora Bank, FSB (f/k/a

 Lehman Brothers Bank, FSB) (LBHI refers to these mortgage loans as “Transferor Loans”);

 and (2) LBHI either purchased a smaller group of mortgage loans from local and regional

 lenders (including in some cases its own affiliated lenders BNC Mortgage Company and

 Finance America LLC) referred to as “Correspondents” on an individual basis or in “minibulk”

 deals or purchased mortgage loans originated or funded through brokers by Lehman Brothers

 Bank FSB (f/k/a Aurora Bank, FSB) (collectively, “Bank-Originated Loans”).

         48.    When LBHI purchased mortgage loans on the secondary mortgage market from

 Transferors, Correspondents, or affiliates, it received representations and warranties as to the

 quality and characteristics of the mortgage loans from the originators. Generally speaking,

 LBHI individually re-made the representations and warranties to the trusts for Bank-Originated

 Loans but only assigned or passed on representations and warranties to the trusts for Transferor




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 Loans (e.g., LBHI assigned the representations made regarding the mortgage loans and the

 corresponding put-back rights under the applicable transfer agreement to the trust, but made

 very limited representations or warranties itself regarding the mortgage loans).                         (Ex. E

 §§ 1.01(a), 1.04(b); Ex. F §§ 2.01(a), 2.03(b))               LBHI passed on the representations and

 warranties of affiliates in the vast majority of other deals. The Plan Administrator has reviewed

 the mortgage loans included in the trusts giving rise to the RMBS Claims and determined that

 approximately 65% of the mortgage loans are Transferor Loans for which LBHI and SASCO

 have either no, or extremely limited, potential liability.13

        C.       The Document Defect Claims Against SASCO.

        49.      The gravamen of the RMBS Claims against SASCO is that SASCO failed to

 deliver complete Mortgage Files for each mortgage loan.14 To require SASCO to compensate

 the trusts for their losses, the Governing Agreements require the RMBS Trustees to prove each

 of the following for each mortgage loan: (1) a document or documents constituting part of a

 Mortgage File is missing, does not appear regular on its face or appears to be unrelated to the

 mortgage loans (a “Material Defect”); (2) the Material Defect has not been cured; and (3) a loss

 has been incurred with respect to such mortgage loan, which loss is attributable to the failure of

 the depositor to cure such Material Defect. (Ex. F § 2.02(c)) The Governing Agreements

 unambiguously provide that these elements must be proven for each mortgage loan, and thus

 SASCO is contractually entitled to demand such proof.

        50.      The Governing Agreements identify and determine the particular party that is

 obligated to repurchase a mortgage loan in the case of a Material Defect in the Mortgage File

 13
        For Transferor Loans, LBHI or SASCO may have made certain general corporate representations and
        limited mortgage-loan level representations. These representations, however, are unlikely to result in
        damage claims and do not appear to be the type of claims asserted by RMBS Trustees.
 14
        As used in this Objection, the term Mortgage Files has the meaning set forth in Exhibit F § 2.01(b).


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 and a related loss as a result. In certain circumstances, SASCO, as the depositor, may be liable

 for such material defects.

        51.      The following graphic depicts the flow of potential liability for the mortgage

 loans that LBHI securitized:




        52.      In practice, the RMBS Trustees were perfectly familiar with the flow of liability

 and the difference between LBHI and SASCO liability, on one hand, and the liability of

 Transferors, on the other hand. Pre-bankruptcy, the RMBS Trustees conformed to the following

 practices: (i) repurchase demands were made on behalf of the trustees and then carefully

 validated by Lehman on a loan-by-loan basis; (ii) the trustees knew that liability for Transferor

 Loans was to be borne by the Transferors — not LBHI — even authorizing the master servicer to

 commence repurchase litigation directly against the Transferors15; and (iii) pre-petition, it was

 not LBHI’s practice to repurchase a Transferor Loan.

        D.       The Motion Subverts the Governing Agreements’ Claims Process.

        53.      Prior to the Motions, the RMBS Trustees have not provided (or even assembled,

 to the Debtors’ knowledge) the required loan-level evidence necessary to support the Claims in

 the more than six years since LBHI’s bankruptcy filing, the more than five years from the Bar

 15
        Exhibit G is an example of such litigation.


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 Date, the more than three years from Lehman’s objection to the RMBS Claims and Judge

 Peck’s admonition that the RMBS Trustees’ would be “put to their proof”, and the more than

 two and a half years from the establishment of the existing reserve. Instead, the RMBS

 Trustees continue to avoid their obligations by putting forth the Motions, through which they

 improperly advocate for an increase to the reserve and the application of an estimation

 methodology to calculate the value of the RMBS Claims. The RMBS Trustees’ attempt to

 avoid proving the various and specific purported breaches and exceptions for which the RMBS

 Trustees contend that LBHI and SASCO bear liability, is contrary to the requirements of the

 Governing Agreements, and will materially and adversely affect LBHI’s ability to pursue

 downstream litigation against the truly responsible parties (to the extent liability exists in the

 first instance).

                                            ARGUMENT

 I.      THE RESERVE MOTION, WHICH SEEKS TO MORE THAN DOUBLE THE
         PREVIOUSLY AGREED UPON AND SO ORDERED RESERVE, SHOULD BE
         DENIED.

         54.        The RMBS Trustees’ Motion to increase the estimated claim for reserve purposes

 from $5 billion to $12.143 billion improperly seeks to reopen an issue the parties agreed to

 definitively resolve in February 2012 following briefing, a hearing, and Court-directed

 negotiations. The parties’ compromise to estimate the Claims at $5 billion for reserve purposes

 was memorialized in the Reserve Order. Because the Reserve Motion is an attempted end run

 around the binding effect of the agreed upon Reserve Order, it should be rejected outright on that

 basis alone. Notwithstanding, to the extent the Court entertains the RMBS Trustees’ request for

 a reserve increase, the Reserve Motion fails because it is untimely and otherwise falls well short

 of the onerous standard for relief from stipulated orders under Federal Rule of Civil Procedure

 60(b). Although the RMBS Trustees attempt to jettison these inconvenient procedural hurdles by


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 simply ignoring them, their Motion must be evaluated under a Rule 60(b) standard, and when so

 viewed, its deficiencies are obvious.

        A.      The Stipulated Reserve Order Amounts to a Contract Wherein the Parties
                Agreed to a $5 Billion Reserve for the RMBS Claims, and the RMBS
                Trustees Should Be Held to Their Bargain.

        55.     The Reserve Motion is really a request that the parties and this Court engage in a

 “do over.” Indeed, the issue of the proper reserve amount for the RMBS Claims was already

 briefed, heard, negotiated, agreed upon, and so ordered in connection with the Lehman

 Estimation Motion. With respect to the reserve amount, the parties struck a deal. Two and a half

 years later, the RMBS Trustees now seek to change its terms.

        56.     In January 2012, Lehman sought, based on its analysis, to estimate the RMBS

 Claims (which were then alleged to be as high as $37 billion) at $2.4 billion solely for reserve

 purposes. At the time, Lehman’s analysis indicated the RMBS Claims could be valued as low as

 $1.1 billion. For the sake of conservatism, however, Lehman proposed to estimate the RMBS

 Claims at $2.4 billion merely to establish a more than sufficient reserve under the Plan. The

 RMBS Trustees disagreed, asserting through a series of written objections (see Dkt. Nos. 24476,

 24483, 24484, 24485, 24491 & 24492) and based on the analyses of their experts, that the

 allowed amount of their claims should be estimated at $15.3 billion, and that Lehman should be

 required to reserve accordingly. Following oral argument before Judge Peck on January 26,

 2012, the parties undertook efforts, in consultation with their experts, to settle the Lehman

 Estimation Motion, ultimately agreeing to entry of the Reserve Order. (Dkt. No. 25563) This

 Court entered the parties’ agreed upon Reserve Order on February 22, 2012, finding that the

 establishment of a reserve for the RMBS Claims at the agreed upon amount of $5 billion was “in

 the best interests of [the Debtors], their creditors and all parties in interest.” (Dkt. No. 25643)

        57.     Having expressly agreed in February 2012 that setting a $5 billion reserve for the


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 RMBS Claims was in the “best interests” of “all parties in interest,” the RMBS Trustees have

 decided to perform an end run around the parties’ agreement to create leverage for themselves by

 seeking to lock up billions of dollars at the expense of other creditors. Accordingly, the RMBS

 Trustees now seek to rewrite the agreed upon Reserve Order by more than doubling the size of

 reserve to $12.143 billion.    However, the stipulated Reserve Order amounts to a contract

 between the parties, and the RMBS Trustees are bound by its terms. Indeed, as courts in this

 district have noted, “[a] Stipulation and Order is a binding agreement between the parties to a

 dispute which has been so ordered by the presiding court. When parties enter into a stipulation,

 the agreement is enforceable as a contract.” In re Royster Co., 132 B.R. 684, 687-88 (Bankr.

 S.D.N.Y. 1991); see also In re Forde, 507 B.R. 509, 519-20 (Bankr. S.D.N.Y. 2014) (noting that

 stipulations are enforceable contracts and may be modified by courts only where necessary to

 prevent manifest injustice).

        58.     The $5 billion figure in the Reserve Order reflects just the type of balanced

 compromise between “competing concerns” that this Court has advocated in connection with

 estimating claims for reserve purposes. See In re Chemtura Corp., 448 B.R. 635, 651, 669

 (Bankr. S.D.N.Y. 2011). To be conservative and protect the RMBS Trustees’ claims, Lehman

 agreed to a reserve that was more than double in size to the $2.4 billion reserve proposed by its

 estimation motion, and almost five times Lehman’s low end estimate for the RMBS Claims.

 Two and a half years later, and despite new expert analysis that decreases the RMBS Trustees’

 claim amount from $15.3 billion to $12.143 billion, the RMBS Trustees now take the position

 that the reserve should be increased by over $7 billion, and substantiate their “redo” of their

 reserve position without support. The RMBS Trustees are contractually bound to, and must




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 abide by, the parties’ so ordered agreement to a $5 billion reserve.16

        59.      Express language in the Reserve Order, quoted in a footnote in the RMBS

 Trustees’ Motion (see Motion at 4 n.6), further underscores that it was intended to conclusively

 resolve the parties’ dispute concerning the proper reserve amount, and to foreclose further

 litigation concerning the discrete issue of the reserve. Specifically, the Reserve Order provides,

 among other things:

        •     that the estimation was “not deemed to determine or affect in any respect the
              allowed amount, validity or priority of the [RMBS] Trustees’ Claims for any
              purpose other than establishing the reserve amounts for such claims under
              the Plan”;

        •     that the estimation was “without prejudice to the rights of the Indenture
              Trustees to assert that the allowed amount of the [RMBS] Trustees’ Claims
              should be greater than the Estimated Claim”; and

        •     all rights of the [RMBS] Trustees and Lehman “with respect to the [RMBS]
              Trustees’ Claims are fully preserved.”

 (Reserve Order at 3 (emphases added)) Notably, the Reserve Order only speaks to reserving

 rights with respect to the allowed amount, validity, and priority of the Claims. Nowhere does the

 Reserve Order permit the RMBS Trustees to seek an increased reserve at a later date. Quite the

 contrary, the only reasonable construction of the Reserve Order is that subsequent attempts to

 adjust the reserve were to be precluded. Indeed, the Reserve Order does not purport to finally

 determine any Claim-related matters “other than [to] establish[] the reserve amounts for such

 claims under the Plan.” (Id. (emphasis added)) Given this plain language, the RMBS Trustees


 16
        Because Lehman is bound just as strictly by the Reserve Order’s $5 billion agreed-upon reserve as are the
        RMBS Trustees, Lehman has not sought a downward adjustment in the reserve. Notwithstanding, there are
        compelling arguments for lowering the reserve by at least 50%, including comparisons with benchmarks
        set in prior settlements of similar claims brought by the same RMBS Trustees against different RMBS
        sponsors. Indeed, the RMBS Trustees’ proposed reserve amount is entirely disproportionate to the
        benchmarks set by the RMBS Trustees’ most recent prior settlements with J.P. Morgan Chase Bank, N.A.
        and Citibank, N.A. Should the Court permit the RMBS Trustees to now reopen the issue of the reserve
        amount — and it should not — Lehman fully reserves its rights to move for a significant downward
        adjustment in the reserve based on this and other arguments.


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 are estopped from now attempting to re-litigate the reserve issue. Cf. Uzdavines v. Weeks

 Marine, Inc., 418 F.3d 138, 146-47 (2d Cir. 2005) (“we have specified that where parties intend

 a stipulation to be binding in future litigation, issues to which the parties have stipulated will be

 considered ‘actually litigated’ for collateral estoppel purposes”).17

        B.       The Reserve Motion Does Not Meet the Applicable Standard for
                 Reconsideration Under Rule 60(b).

        60.      Should the Court entertain the RMBS Trustees’ efforts to reopen the reserve

 issue, the Reserve Motion should be denied because it meets neither the requirements of Federal

 Rule of Civil Procedure 60(b) nor the onerous legal standard for reconsideration.                            Made

 applicable here by Federal Rule of Bankruptcy Procedure 9024, Rule 60(b) governs a party’s

 efforts to seek relief from a final judgment, order, or proceeding. Fed. R. Civ. P. 60(b). Because

 the Reserve Order disposed of a discrete dispute within the broader context of Lehman’s

 bankruptcy proceedings — i.e., Lehman’s Estimation Motion to determine the amount Lehman

 would be required to reserve for the RMBS Claims under the Plan — the instant Reserve Motion

 to modify the Reserve Order’s terms is governed by Federal Rule of Civil Procedure 60(b). See

 SEC v. Drexel Burnham Lambert Grp., Inc. (In re Drexel Burnham Lambert Grp., Inc.), 960

 F.2d 285, 289 (2d Cir. 1992) (“an order in a bankruptcy case is appealable if the order finally

 disposes of a discrete dispute within the larger case”) (emphasis in original) (internal quotations

 and citation omitted); see also Liquidators of Lehman Bros. Australia Ltd. v. Lehman Bros.

 Special Fin. (In re Lehman Brothers Holdings Inc.), 697 F.3d 74, 77 (2d Cir. 2012) (“in the

 bankruptcy context, the standard for finality is more flexible than in other civil litigation . . .

 17
        Indeed, the Reserve Motion is analogous to a request for a mandatory injunction. See generally In re
        Chemtura Corp., No. 09-11233 (REG), 2010 WL 4638898, at *3 (Bankr. S.D.N.Y. Nov. 8, 2010)
        (determining that a disputed claim holder’s request to order debtor to put more cash and stock into
        previously ordered claim reserve was akin to a mandatory injunction). The RMBS Trustees are seeking a
        Court order requiring LBHI to reserve $7.123 billion more than what was previously agreed to and so
        ordered. It is a proposed change to the status quo, and if permitted, the increase will be detrimental to the
        rights and interests of other creditors.


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 Because bankruptcy cases frequently entail protracted proceedings involving many parties,

 finality is viewed functionally, focusing on pragmatic considerations rather than on

 technicalities.”)

         61.     Particularly instructive here is In re Chemtura Corp., in which this Court

 considered a claimant’s request — akin to the Reserve Motion — that a previously ordered

 disputed claims reserve be increased by $20 million. See In re Chemtura Corp., No. 09-11233

 (REG), 2010 WL 4638898, at *3 (Bankr. S.D.N.Y. Nov. 8, 2010). Denying the request, Judge

 Gerber noted that the claimant was “effectively seeking . . . reconsideration of [the] earlier orders

 setting the size of the Disputed Claims Reserve, without satisfying the requirements of

 [Bankruptcy Rules] 9023 and 9024, which make [Federal Rules of Civil Procedure] 59 and 60

 applicable in cases under the Code.” Id. As Judge Gerber observed:

         The Equity Committee is quite right in its observation that if I were to grant the
         relief [the claimant] requests here — supplemental funding of the Disputed
         Claims Reserve when I already decided the Disputed Claims Reserve’s
         appropriate size — it would be in the nature of reconsideration of that earlier
         decision.

 Id.   Consistent with the Chemtura decision, which also concerned a motion to increase a

 previously ordered disputed claims reserve, the Reserve Order must similarly be treated as a final

 order from which the RMBS Trustees now seek Rule 60 relief.18 Consequently, not only must

 the Reserve Motion comply with the procedural strictures of Rule 60, but it must also “meet a

 very heavy burden of proof” to satisfy the exceedingly onerous legal standard for reconsideration

 18
         Courts have regularly assessed motions for relief from prior bankruptcy court orders — including stipulated
         orders — under the Rule 60(b) rubric. See, e.g., Hoti Enters., L.P. v. GECMC 2007 C-1 Burnett St., LLC
         (In re Hoti Enters., L.P.), No. 12-CV-5341 (CS), 2012 WL 6720378, at *4 (S.D.N.Y. Dec. 27, 2012)
         (affirming denial of Rule 60(b) reconsideration of stipulated cash collateral order); In re AL & LP Realty
         Co., 164 B.R. 231, 234 (Bankr. S.D.N.Y. 1994) (denying Rule 60(b) relief from stipulated order modifying
         the automatic stay); see also In re Old Carco LLC, No. 10 Civ. 2493(AKH), 2010 WL 3566908, at *2
         (S.D.N.Y. Sept. 14, 2010) (affirming denial of reconsideration under Rule 60(b) of order allowing debtor to
         reject certain dealership agreements); Illinois Dep’t of Revenue v. U.S. Energy Biogas Corp. (In re U.S.
         Energy Sys., Inc.), No. 12 Civ. 7107, 2013 WL 5204010, at *5 (S.D.N.Y. Sept. 16, 2013) (affirming
         bankruptcy court’s denial of Rule 60(b) motion for relief from administrative bar order).


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 of stipulated orders. Under the weight of such scrutiny, the Reserve Motion fails.

                1.       The Reserve Motion Is Untimely.

        62.     Although Rule 60(b) lists a number of grounds for relief, the Reserve Motion is

 most aptly viewed as a motion based on “newly discovered evidence that, with reasonable

 diligence, could not have been discovered” at the time the Reserve Order was issued under Rule

 60(b)(2). Fed. R. Civ. P. 60(b)(2). The Reserve Motion notes that for more than two years since

 July 2012, “the RMBS Trustees have engaged experts, had a sample of nearly 5,000 Covered

 Loans re-underwritten, and had experts analyze and assess the nature of breaches of

 representations and warranties for materiality in accordance with the underlying trust

 documents.” (Reserve Motion ¶ 16)

        63.     The Reserve Motion further argues that “[b]ased on the RMBS Trustees’ evidence

 that the allowed amount of the RMBS Claims for Covered Loans is not less than $12.143 billion

 . . . the reserve must be increased immediately.” (Id. at ¶ 18.) In essence, the RMBS Trustees

 assert that newly developed evidence and analyses from their purported experts over the course

 of more than two years warrants a reevaluation of the previously ordered reserve.

        64.     The Reserve Motion, however, comes way too late. Under Rule 60(c)(1), any

 motion for relief from an order based on purported newly discovered evidence under Rule

 60(b)(2) “must be made within a reasonable time—and . . . no more than a year after the entry

 of the . . . order.” Fed. R. Civ. P. 60(c)(1) (emphasis added).19 This one-year time limit is a

 strict deadline and may not be extended by the Court. See Fed. R. Bankr. P. 9006(b)(2) (“The

 court may not enlarge the time for taking action under [Rule] . . . 9024”); see also Warren v.

 19
        The one-year time limit under Rule 60(c)(1) also applies to motions made pursuant to Rule 60(b)(1)
        (motions for relief from orders based on “mistake, inadvertence, surprise, or excusable neglect”) and Rule
        60(b)(3) (motions for relief from orders on grounds of fraud). To the extent the RMBS Trustees would
        assert the Reserve Motion falls under either of those prongs of Rule 60(b), the Reserve Motion would
        similarly be untimely.


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 Garvin, 219 F.3d 111, 114 (2d Cir. 2000) (the one-year limitation period governing Rule 60(b)

 motions for relief from a judgment or order is “absolute”).

        65.     The Reserve Order was entered on February 22, 2012. The RMBS Trustees’

 Reserve Motion was not filed until August 22, 2014 — two and a half years later. During this

 time, and accounting for the agreed upon $5 billion reserve for the RMBS Claims, the Plan

 Administrator has undertaken a careful plan of distribution to creditors. For their part, creditors

 have relied upon the Plan Administrator’s ability to make distributions as scheduled. The RMBS

 Trustees’ untimely Reserve Motion now threatens to disrupt the distribution process — precisely

 the type of consequence the one-year limitation under Rule 60(b) is intended to avoid. Because

 the RMBS Trustees waited too long to replace their prior experts, marshal new expert opinions,

 and press their arguments for modifications to the Reserve Order, their Reserve Motion must be

 denied. See, e.g., In re U.S. Energy Sys., 2013 WL 5204010, at *5 (affirming denial of untimely

 Rule 60(b) motion); In re Hoti Enters., L.P., 2012 WL 6720378, at *4 (same); In re Old Carco

 LLC, 2010 WL 3566908, at *2 (same).

        66.     Further, the RMBS Trustees have had since at least 2008 to retrieve loan files and

 actually substantiate their claims. Their claims were neither contingent nor unliquidated. All the

 RMBS Trustees had to do to avoid any reserve issues was to fulfill their contractual obligations.

 While the effort would have been substantial, there has been a sufficient amount of time to

 complete the task. Nevertheless, unlike the GSEs, the RMBS Trustees elected not to attempt to

 prove up their claims.

        67.     In an effort to sidestep the strict one-year limitation for motions pursuant to Rule

 60(b)(2), the RMBS Trustees may attempt to avail themselves of Rule 60(b)(6), a catch-all

 provision which permits motions for reconsideration for “any other reason that justifies relief.”




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 Fed. R. Civ. P. 60(b)(6). The law, however, is “well-established that Rule 60(b)(6) should not be

 used to circumvent the one-year limitations period that applies to the specific clauses [of Rules

 60(b)(1-3)].” LinkCo, Inc. v. Akikusa, 615 F. Supp. 2d 130, 136 (S.D.N.Y. 2009). Therefore, an

 action “may not be brought under Rule 60(b)(6) if it is premised on one of the grounds for relief

 enumerated in the specific clauses of Rule 60(b).”        Id. (citing Liljeberg v. Health Servs.

 Acquisition Corp., 486 U.S. 847, 863 (1988)); see also Klapprott v. United States, 335 U.S. 601,

 613 (1949) (a party may “not avail himself of the broad ‘any other reason’ clause of 60(b)” if its

 motion is based on grounds specified in the other clauses of Federal Rule 60(b)). Given the

 RMBS Trustees’ express statements that the Reserve Motion is “[b]ased on [their] evidence that

 the allowed amount of the RMBS Claims for Covered Loans is not less than $12.143 billion”

 (Motion ¶ 18), the Reserve Motion necessarily falls within the ambit of Rule 60(b)(2) and the

 one-year limitation period, which expired on February 22, 2013, a full year and a half before it

 was filed.

        68.     In any event, even if the Court considers the Reserve Motion under Rule 60(b)(6),

 the Reserve Motion was nevertheless required to have been brought “within a reasonable time.”

 Fed. R. Civ. P. 60(c)(1). Notwithstanding the RMBS Trustees’ engagement of purported experts

 to substantiate their request to more than double the reserve, and the time allegedly taken by

 those experts to perform their superficial and sample-based analyses, nowhere do the RMBS

 Trustees — themselves sophisticated financial institutions with no dearth of resources — attempt

 to justify the full two and a half years it took, after the Reserve Order was entered, for them to

 bring this matter to Lehman’s or this Court’s attention. Such a lengthy delay is not only

 unreasonable, but also inexplicable. The RMBS Trustees have had unfettered access to the same

 information their experts claim to have analyzed since the loans were first securitized — at least




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 seven years ago or more — yet failed to identify more than $209 million in loan-level claims

 against LBHI. Accordingly, no matter how it is sliced under Rule 60(b), the Reserve Motion

 must be denied as untimely.

                2.     The Reserve Motion Does Not Meet the Exceptionally High Standard
                       for Reconsideration of Stipulated Orders Under Rule 60(b).

        69.     Beyond the fact that it was brought too late, the Reserve Motion should also be

 denied for the independent reason that it falls well short of the onerous standard for relief from

 stipulated orders under Rule 60(b).     As this Circuit has noted, “[s]ince Rule 60(b) allows

 extraordinary relief, it is invoked only upon a showing of exceptional circumstances.” Central

 Vermont Pub. Serv. Corp. v. Herbert, 341 F.3d 186, 190 (2d Cir. 2003) (citation omitted); see

 also Silverman v. Miranda, No. 06-CV-13222 (ER), 2014 WL 3728622, at *3 (S.D.N.Y. July 28,

 2014) (“Motions for relief under Rule 60(b) are disfavored and reserved for exceptional cases.”)

        70.     Importantly, “[w]here, as here, the parties submitted to an agreed upon disposition

 instead of seeking a resolution on the merits[,] the burden to obtain Rule 60(b) relief is heavier

 . . . .” In re AL & LP Realty Co., 164 B.R. at 234 (denying reconsideration of agreed order

 modifying the automatic stay); see also In re Royster Co., 132 B.R. at 689 (movant for Rule

 60(b) “relief from a stipulation agreement must meet a very heavy burden of proof”). “Generally

 this burden is only met upon the clear showing of a grievous wrong that has resulted from

 unforeseen conditions.” Id.; see also Hsi v. Bank of Montreal, No. 95 Civ. 2806 JESKNF, 1999

 WL 504915, at *4 (S.D.N.Y. July 16, 1999) (“A party seeking Rule 60(b)(1) relief from a

 stipulation agreement must meet a very heavy burden of proof.”); Ally v. F.E.D. Concrete Co.,

 No. 88 Civ. 8552 (SWK), 1993 WL 452523, at *2 (S.D.N.Y. Nov. 4, 1993) (movant’s “change

 of heart” was no grounds upon which to vacate settlement to which all parties, represented by

 counsel, agreed); United States v. Dist. Council of N.Y.C. & Vicinity of the United Brotherhood



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 of Carpenters & Joiners of Am., No. 90 Civ. 5722 (CSH), 1992 WL 111100, at *5 (S.D.N.Y.

 May 4, 1992) (Rule 60(b) movant’s burden is heavier when parties submit an agreed-upon

 disposition). Thus, to the extent the Reserve Motion is considered under Rule 60(b)(6), the

 Motion “should not be granted unless [the RMBS Trustees have shown] exceptional or

 extraordinary circumstances . . . or extreme or undue hardship.” In re AL & LP Realty Co., 164

 B.R. at 234.

        71.     The Reserve Motion fails to meet the high standard to which it must be held under

 Rule 60(b). While purportedly based on new evidence developed through the work of the RMBS

 Trustees’ experts over the past two and a half years, the Reserve Motion offers nothing new or

 extraordinary in terms of argument. The RMBS Trustees’ primary — and indeed only —

 justification for the alleged need to immediately more than double the reserve is that “[i]f the

 RMBS Claims are not addressed promptly, the $5 billion reserve will soon serve as a cap on the

 claims, which is contrary to the intent of the Court’s Reserve Order.” (Motion ¶ 18) This,

 however, is the same argument these very RMBS Trustees made in opposing the Lehman

 Estimation Motion in early 2012.20             Fully cognizant of these risks, the RMBS Trustees

 nonetheless agreed to settle Lehman’s Estimation Motion, and to the stipulated Reserve Order

 setting the reserve at the compromise $5 billion figure. The RMBS Trustees chose not to insist

 that this Court decide the issue at that point (when they sought an even higher reserve amount),

 and they remained silent regarding the reserve for two and a half years. That Lehman’s estate

 has been periodically distributed to other creditors during this time is not extraordinary, nor was



 20
        See, e.g., Wilmington Trust Co. Obj. (Dkt. No. 24483) at 5 (“If the Motion is granted at this time in its
        present form, it is likely that the reserve amounts to be established for Claims held by the WTC Trusts and
        the other securitization trusts will be grossly inadequate.”); U.S. Bank Obj. (Dkt. No. 24491) at 2 (“The
        Trustees are concerned that an estimate that is too low will prejudice investors in the RMBS Trusts since
        there is no guarantee that proceeds available for future distributions will be sufficient to make up the
        difference.”).


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 it unforeseen to the RMBS Trustees when they agreed to a $5 billion reserve.

        72.      The RMBS Trustees similarly cannot contend that their experts’ current $12.143

 billion estimate for the claims constitutes an extraordinary, exceptional, or unforeseen

 circumstance, particularly given that they previously presented $15.3 billion as a “conservative”

 estimate to this Court. (See id.) Simply put, nothing in the Reserve Motion justifies the RMBS

 Trustees’ requested extraordinary relief from the agreed upon Reserve Order.

        73.      Nor have the RMBS Trustees’ sustained their “very heavy burden” to demonstrate

 that failure to adjust the reserve would constitute a “grievous wrong” or cause them to suffer any

 “extreme or undue hardship.” Despite their insistence that without a reserve increase, the current

 $5 billion reserve will serve as a “cap” on their claims (see Motion ¶ 18), such concerns are

 unsubstantiated. Consistent with the express terms of the Reserve Order, the RMBS Trustees

 may continue “to assert that the allowed amount of [their] Claims should be greater than the

 Estimated Claim.” (Reserve Order at 3) However, the likely injury to the Plan Administrator

 should it now be required to more than double the RMBS Claims reserve (while it is attempting

 to execute an orderly plan of distribution) is far more imminent. Other Lehman creditors relying

 upon the timely receipt of their distribution payments will be similarly and adversely affected.

 This further warrants the denial of the RMBS Trustees’ improper and untimely Reserve

 Motion.21



 21
        In any event, should the Court entertain further litigation concerning the reserve, Lehman and its experts
        will demonstrate that the RMBS Trustees’ $12.143 billion estimate is wildly overstated, unreliable, and
        premised on a series of flawed assumptions and inputs. The myriad problems with the RMBS Trustees’
        and their experts’ analyses include, but are not limited to: (1) their use of biased sampling to generate and
        apply an artificially inflated breach rate; (2) their failure to consider any liability limitations which might
        impact their ability to validate the alleged breaches; (3) their failure to account for an array of factors that
        may sever the causal link between the alleged breaches and claimed losses; (4) their disregard of the
        requirement that any alleged breaches have had a material adverse effect on the loans; and (5) their
        apparent inclusion of documentation breaches that would have been cured absent the RMBS Trustees’
        failures to comply with document deficiency identification provisions in the Governing Agreements.


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        C.      Even if the Reserve Order Is Deemed to Be Interlocutory, the Reserve
                Motion Should be Denied.

        74.     Having failed to bring the Reserve Motion before the one-year deadline, and

 unable to meet the exceptionally high legal standard for reconsideration under Rule 60, the

 RMBS Trustees may contend that the Reserve Order was merely interlocutory in nature, and

 therefore that the Reserve Motion is not governed by Rule 60 at all. For the reasons outlined

 above (see supra ¶¶ 60-61; see also In re Chemtura Corp., 2010 WL 4638898, at *3), any such

 contention would be meritless as the Reserve Order is most aptly viewed as a final order under

 Rule 60 and the related case law.

        75.     Notwithstanding, even if the Court were to consider the Reserve Order

 interlocutory, the RMBS Trustees still have not demonstrated any entitlement to relief from the

 Reserve Order. The Court’s discretion to modify interlocutory orders is not unbounded. As

 Judge Lynch has observed, “[a]n interlocutory order may be reconsidered when there is an

 intervening change of controlling law, newly available evidence, or the need to correct a clear

 error or prevent manifest injustice.” Hnot v. Willis Grp. Holdings Ltd., 241 F.R.D. 204, 207

 (S.D.N.Y. 2007) (internal quotations and citation omitted); cf. Aronoff v. Dwyer, 913 F. Supp.

 286, 289 (S.D.N.Y. 1996) (“The court’s exercise of its power to reconsider its own decisions is

 guided by the strictures of the law of the case doctrine . . . where litigants have once battled for

 the court’s decision they should neither be required, nor without good reason permitted, to battle

 for it again.”) (internal quotations and citation omitted)).

        76.     The Reserve Motion demonstrates none of these typical predicates to

 reconsideration. The RMBS Trustees have made no showing of a change in controlling law. As

 the RMBS Trustees themselves agreed to the Reserve Order, they are hard-pressed to claim it

 arose from clear error. Nor have the RMBS Trustees discovered any new evidence. Rather, they



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 have merely analyzed the same breach claims they previously filed by employing different

 experts and methodology. See Aronoff, 913 F. Supp. at 289 (rejecting argument that new

 evidence warranted modification to interlocutory order). In fact, as noted above, the RMBS

 Trustees’ earlier experts opined that their claims were worth as much as $15.3 billion. Their

 current experts value the claims at just $12.143 billion. An expert opinion that the RMBS

 Claims are worth less than a previous expert’s opinion is not newly discovered evidence

 justifying a higher reserve amount.

        77.     Furthermore, denying the RMBS Trustees’ improper request to undo the agreed

 upon Reserve Order would create no manifest injustice to the RMBS Trustees. Quite the

 contrary, granting the request would permit the RMBS Trustees — who allowed years to pass

 without raising the issue of the reserve or taking meaningful steps to advance their claims — to

 effectively hijack LBHI’s ongoing efforts to fulfill its responsibilities as Plan Administrator, and

 to proceed with orderly and planned distributions to holders of allowed claims. At this stage,

 should the Plan Administrator be required to more than double the size of the RMBS Claims

 reserve, most adversely affected will be other creditors, who could suddenly and without

 justification find their distributions either imperiled or delayed.

        78.     Importantly, as Plan Administrator, LBHI is a responsible fiduciary, with

 obligations to the entire Lehman estate. If the Plan Administrator believed that a higher reserve

 was necessary to ensure the RMBS Claims received adequate distributions, it would increase the

 reserve. The Plan Administrator, however, also must try not to over-reserve for the RMBS

 Claims so that other creditors’ distribution payments are not delayed. To require LBHI to do

 otherwise would effectively permit the RMBS Trustees to leverage delayed distributions to other

 creditors in order to achieve a higher claim amount than that to which they are entitled.




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        79.     For the foregoing reasons, the Reserve Motion should be denied.

 II.    THE ESTIMATION MOTION SHOULD BE DENIED AS ESTIMATION
        IS AN IMPROPER METHODOLOGY FOR CLAIM RESOLUTION.

        A.      Estimation Is Not Permitted Under Section 502(c).

        80.     Section 502(c) of the Bankruptcy Code provides:

               (c) There shall be estimated for purpose of allowance under this section —

                (1) any contingent or unliquidated claim, the fixing or liquidation of
               which, as the case may be, would unduly delay the administration of the
               case; or

                (2) any right to payment arising from a right to an equitable remedy for
               breach of performance.

        11 U.S.C. § 502(c).

        81.     As the plain language of section 502(c)(1) makes clear, an estimation

 methodology only applies to claims for which fixing the amount of the claim is not possible —

 i.e., it is contingent or unliquidated — and would unduly delay the administration of the case.

 See O’Neill v. Cont’l Airlines (In re Cont’l Airlines), 981 F.2d 1450, 1461 (5th Cir. 1993) (“In

 order for the estimation process of § 502(c) to apply, a claim must be contingent or

 unliquidated and fixing the claim must entail undue delay in the administration of justice”);

 First City Beaumont v. Durkay (In re Ford), 967 F.2d 1047, 1053 (5th Cir. 1992) (“where a

 claim, premised upon the debtor’s joint and several liability as co-maker of a note, is neither

 ‘contingent’ nor ‘unliquidated,’ estimation pursuant to section 502(c)(1) is simply

 inappropriate”).

        82.     However, the RMBS Trustees’ attempts to convert the RMBS Claims into

 contingent, unliquidated amounts are not persuasive. First, based upon recent developments

 under New York case law, the repurchase claims should not be deemed “contingent” because a

 repurchase claim arises, if at all, at the time of the loans’ original sale. ACE Secs. Corp. v. DB


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 Structured Prods. Inc., 112 A.D.3d 522, 523 (1st Dep’t 2013). In fact, the RMBS Trustees’

 own determination that each breach materially and adversely affected the value of the loans

 means that, in their view, all elements of the RMBS Claims existed at the time of sale.

 Therefore, by the RMBS Trustees’ own admission, their claims are not contingent on a future

 event.

          83.      Second, the RMBS Claims are not unliquidated because any actual, quantifiable

 losses incurred as a result of a breach of a representation or warranty that has a material and

 adverse effect on the value of the underlying mortgage loan are determinable by “simple

 calculation.” (Motion ¶ 36) The Governing Agreements provide that any loans subject to

 repurchase must be repurchased at the “Purchase Price,” which is generally defined as follows:

          With respect to the repurchase of a Mortgage Loan pursuant to this Agreement, an
          amount equal to the sum of (a) 100% of the unpaid principal balance of such
          Mortgage Loan,22 (b) accrued interest thereon at the Mortgage Rate, from the date
          as to which interest was last paid to (but not including) the Due Date immediately
          preceding the related Distribution Date, (c) any costs and damages incurred by the
          Trust Fund with respect to such Mortgage Loan in connection with any violation
          of any federal, state or local predatory or abusive lending laws or other similar
          laws and (d) any unreimbursed Servicing Advances with respect to such
          Mortgage Loan. (Ex. E § 1.01)

          84.      Thus, the purchase price is a liquidated damages equation — i.e., a “simple

 calculation” — that effectively puts the parties back in the positions they would have been had

 the loan not been sold in the first place, and that can be calculated through loan-by-loan review.

 Because the Purchase Price equation can be applied to a loan at any point in its life-cycle

 (performing, non-performing, pre-liquidation, post-liquidation), by simply applying loan-level

 inputs, the RMBS Trustees’ claims cannot be said to be unliquidated. That the RMBS Trustees

 are unwilling to engage in the loan-by-loan analysis and calculations that are mandated by the


 22
          Lehman notes for the Court that the unpaid principal balance gives effect to any collateral liquidation
          proceeds or other amounts received or reductions agreed to in mitigation of the RMBS Claims.


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 Governing Agreements, does not transform such calculations into an unfathomable,

 unascertainable and unliquidated amount.

        85.      Section 502(c) also does not apply because resolving the claims will not unduly

 delay administration of the case, notwithstanding the RMBS Trustees’ assertions to the

 contrary. This is particularly true if an expedited, achievable loan-level review process is

 implemented, as requested by the Cross-Motion.

        86.      Moreover, any delay associated with engaging in a loan-by-loan claim

 reconciliation process is entirely of the RMBS Trustees’ own making. More than five years

 have passed since the RMBS Claims were filed. During that entire period, the RMBS Trustees

 could have engaged in the loan-by-loan claim reconciliation process, but chose not to. Now, at

 the eleventh hour, and seemingly under legal pressure from their certificate-holders,23 they

 present the Estimation Motion before this Court and suggest that any claim methodology other

 than estimation would be too time consuming and costly. But the costs to the Lehman estate

 from such an approach are extreme. In addition to grossly inflated claims being possibly

 allowed, the Lehman estate would also suffer from a severely hindered right to pursue

 downstream litigation against the ultimately responsible parties.

        87.      The general rule and practice in bankruptcy proceedings is to liquidate a claim

 rather than to estimate it. As the court observed in In re Dow Corning Corp., “[f]rom the plain

 language of § 502(c), it is clear that estimation does not become mandatory merely because

 liquidation may take longer and thereby delay administration of the case. Liquidation of a

 23
        In June 2014, a large group of RMBS Trust certificate holders filed a series of derivative lawsuits for
        billions of dollars in damages against certain of the RMBS Trustees, alleging that they abdicated their
        responsibilities as trustees, and “wholly failed to discharge [their] duties and obligations to protect their
        Trusts.” (See, e.g., Complaint in Blackrock Allocation Target Shares v. U.S. Bank Nat’l Ass’n, No.
        651864/2014 (N.Y. Sup. Ct. June 18, 2014) ¶ 1; see also Complaint in Blackrock Balanced Capital
        Portfolio (FI) v. Deutsche Bank Nat’l Trust Co., No. 651865/2014 (N.Y. Sup. Ct. June 18, 2014) ¶ 1) The
        certificate-holders asserted a variety of legal claims against the RMBS Trustees including breach of
        contract, breach of fiduciary duty, negligence, and violations of the Trust Indenture Act of 1939. (See id.)


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 claim, in fact, will almost always be more time consuming than estimation. Nonetheless,

 bankruptcy law’s general rule is to liquidate, not to estimate.” In re Dow Corning Corp., 211

 B.R. 545, 563 (Bankr. E.D. Mich. 1997).

        88.     Further, there is another alternative that comports with the Bankruptcy Code’s

 liquidation mandate, is efficient, and consistent with the Governing Agreements between the

 parties: the RMBS Protocol. The RMBS Protocol would allow the Court to address all of the

 Claims asserted by the RMBS Trustees. As discussed in Section III below, the RMBS Protocol

 is well suited to claims resolution in this case because it preserves the benefit of the parties’

 bargain while simultaneously producing accurate recovery amounts on the RMBS Claims on a

 timely schedule.

        B.      The Governing Agreements Do Not Permit Estimation.

        89.     As discussed in detail above (supra ¶¶ 43-52), the Governing Agreements set

 forth a specific and detailed mechanism through which the RMBS Trustees must pursue claims

 on defective loans. This mechanism is the only method that the Governing Agreements, which

 were negotiated and agreed to by the RMBS Trustees, contemplate for recovery on defective

 loans. Estimation (by sampling or otherwise) is not contemplated by the Governing Agreements

 and is therefore an extra-contractual remedy the RMBS Trustees have proposed as a means of

 avoiding the loan-by-loan claims reconciliation process prescribed by the Governing

 Agreements, and consequently depriving Lehman of its contractual rights. Additionally, the

 proposed estimation methodology is nothing more than an attempt to recover a higher amount

 than would otherwise be available under the Governing Agreements through the loan-by-loan

 reconciliation process.

        90.     For LBHI to compensate the trusts for their losses, the Governing Agreements

 specifically require that the RMBS Trustees prove each of the following for each mortgage loan:


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 (1) a breach of a representation and warranty; (2) that the breach materially and adversely

 affected the value of the mortgage loan; and (3) that Lehman had prompt notice of the material

 and adverse breach.24 (Ex. E § 1.04(d), Ex. F § 2.04)

        91.     Importantly, the Governing Agreements unambiguously provide that the three

 aforementioned required elements must be satisfied for each mortgage loan to recover under

 each such mortgage loan.25 Under the Governing Agreements, the repurchase remedy is set forth

 as follows:

        Upon discovery by any of the Depositor, the Master Servicer or the Trustee of a
        breach of any such representations and warranties that adversely and materially
        affects the value of the related Mortgage Loan, the party discovering such breach
        shall give prompt written notice to the other parties…. Within 90 days of the
        discovery of a breach of any representation and warranty given to the Trustee by
        the Depositor, any Transferor or Lehman Holdings . . . the Depositor, such
        Transferor or Lehman Holdings shall either (a) cure such breach in all material
        respects, (b) repurchase such Mortgage Loan . . . at the Purchase Price, or (c) . . .
        substitute a Qualifying Substitute Mortgage Loan for the affected Mortgage Loan.
        (Ex. F § 2.04 (emphasis added))

 As shown above, the defined term, Mortgage Loan, is singular and the repurchase remedy

 applies to such Mortgage Loan (i.e., a specific mortgage loan).

        92.     Moreover, the defined term, Purchase Price, can only be applied at the loan level

 because it requires loan-level inputs:

        With respect to the repurchase of a Mortgage Loan pursuant to this Agreement, an
        amount equal to the sum of (a) 100% of the unpaid principal balance of such

 24
        The requirement that the RMBS Trustees prove the breach claims on a loan-by-loan basis is amplified by
        the provision of the Governing Agreements that provides their remedy, the “Purchase Price,” which cannot
        be calculated without loan-specific inputs such as unpaid principal balance, accrued interest, and
        unreimbursed servicing advances (supra ¶¶ 83-84). (Ex. E § 1.01)
 25
        In addition to these conditions, the Governing Agreements generally require the RMBS Trustees to (i)
        provide Lehman with notice, within 45 days of delivery of the mortgage-loans file to the Trusts, of any
        alleged defects in the SASCO-related mortgage-loan files (“45 Day Notice”); and (ii) deliver a final
        certification to Lehman, within 180 days of the closing date of the securitization of the mortgage-loans
        being placed into a given trust, evidencing the completeness of the mortgage-loan files and noting any
        exceptions (“180 Day Certification”). (Ex. F § 2.02(b), (c) and (d))



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        Mortgage Loan, (b) accrued interest thereon at the Mortgage Rate, from the date
        as to which interest was last paid to (but not including) the Due Date immediately
        preceding the related Distribution Date, (c) any costs and damages incurred by the
        Trust Fund with respect to such Mortgage Loan in connection with any violation
        of any federal, state or local predatory or abusive lending laws or other similar
        laws and (d) any unreimbursed Servicing Advances with respect to such
        Mortgage Loan. Id. § 1.01.

        93.     Therefore, as a practical matter, a breach rate of “x”% in a sample population

 (such as that proposed by the RMBS Trustees (see Motion ¶ 4)), could not be applied to the

 contractual remedy because each of the inputs are loan level and loan specific. Additionally, the

 relevant RMBS Trust only has a valid claim if the breach had a material and adverse effect on

 the value of the related mortgage loan, meaning that a trustee would have to establish that the

 breach caused the mortgage loan to lose value.

        94.     Using an estimation methodology to reach a figure for the RMBS Claims,

 therefore, does not comport with either the Governing Agreements’ requirements for claim

 reconciliation, or the fact that all the mortgage loans at issue in the RMBS Claims are not

 mortgage loans for which LBHI bears liability (provided that the RMBS Trustees have been able

 to demonstrate that there was a breach of the representations and warranties related to such

 mortgage loan that had a material and adverse effect on the value of such mortgage loan). Under

 even this most simple of analyses, estimation is an entirely improper method for calculating the

 actual amounts recoverable by the RMBS Trustees in connection with the claims.

        C.      The Underlying Economics Do Not Permit Estimation.

        95.     When LBHI entered into the Governing Agreements, it specifically bargained

 for a claim reconciliation process that would allow it to pursue claims, if and where applicable,

 against downstream mortgage-loan originators. As discussed above (supra Section III.B),

 many of the mortgage loans were acquired by LBHI from loan originators that made

 representations and warranties about the quality of these loans — loans that LBHI then


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 packaged and sold into the RMBS Trusts. A key component of this process was that LBHI

 duplicated the representations and warranties made by the mortgage-loan originators, meaning

 that the representations and warranties made by LBHI to the Trusts were the same as the

 representations and warranties made by the mortgage-loan originators to LBHI.

        96.     The key facet of this process was that if, after following the loan reconciliation

 process provided in the Governing Agreements, LBHI was found liable for a breach of the

 representations and warranties related to a particular mortgage loan that had a material and

 adverse effect on the value of such mortgage loan, then LBHI could seek indemnification from

 the downstream originator for the claimed amount. LBHI could seek this indemnification

 precisely because the original representations and warranties on the mortgage-loan were made

 by the original downstream originator to LHBI, not by LBHI. As a result, in its agreements

 with the downstream originators, LBHI preserved the right to seek indemnification from the

 downstream originators for liability that resulted from breaches.

        97.     For LBHI to obtain indemnification from the downstream originators, the

 RMBS Trustees must prove their claims have been reviewed and reconciled at the loan level.

 Without the Governing Agreements and adherence by the RMBS Trustees to the claim

 reconciliation process set forth therein, the Debtors — and hence the estates and their creditors

 — may be left with no remedy with respect to their own indemnification rights against the

 downstream mortgage-loan originators.

        98.     LBHI bargained for and agreed with the RMBS Trustees to the loan-by-loan

 claim reconciliation process, set forth in the Governing Agreements. To suddenly — after

 years of waiting for the RMBS Trustees to prove-up their claims in accordance with the

 Governing Agreements — shift gears in contravention of the parties’ bargain, and endorse an




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 estimation methodology, would not only improperly disregard the parties’ bargain, but also

 create a summarily inequitable process. Through estimation, the RMBS Trustees would flout

 the requirements of their agreed upon bargain in the Governing Agreements. By so doing, the

 RMBS Trustees would also endanger LBHI’s downstream remedy against the mortgage-loan

 originators.

         99.     Estimation cannot be upheld as an applicable claim determination methodology

 because it denies LBHI the benefit of its bargain — to be accountable only for breaches that

 caused losses and to pursue its indemnification rights against downstream mortgage loan

 originators. Where the RMBS Trustees are asserting billions of dollars in liability, this would

 lead to a greatly inequitable result.

 III.    THE COURT SHOULD GRANT LEHMAN’S CROSS-MOTION
         TO ESTABLISH A CLAIMS RESOLUTION PROTOCOL.

         100.    Lehman cross-moves for entry of an order establishing a detailed and binding

 timeline and claims resolution protocol, in the form attached as Exhibit C hereto, for an

 efficient RMBS Claims resolution process. If the Court enters an order establishing such

 protocol, resolution of the RMBS Trustees’ claims will not require protracted discovery and

 litigation, but can instead be accomplished on a loan-by-loan basis, as mandated by the

 Governing Agreements.

         101.    Section 105(a) of the Bankruptcy Code provides that the “Court may issue any

 order, process, or judgment that is necessary or appropriate to carry out the provisions of this

 title.” 11 U.S.C. § 105(a). Pursuant to section 105(a), the Bankruptcy Court has expansive

 equitable powers to achieve fairness and justice in the reorganization process. See, e.g.,

 Momentum Mfg. Corp. v. Emp. Creditors Comm. (In re Momentum Mfg. Corp.), 25 F.3d 1132,

 1136 (2d Cir. 1994) (“[B]ankruptcy courts are courts of equity, empowered to invoke equitable



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 principles to achieve fairness and justice in the reorganization process.”); Croton River Club,

 Inc. v. Half Moon Bay Homeowners Ass’n (In re Croton River Club, Inc.), 52 F.3d 41 (2d Cir.

 1994) (holding that bankruptcy courts have broad equity power to manage affairs of debtors);

 Chinichian v. Campolongo (In re Chinichian), 784 F.2d 1440, 1443 (9th Cir. 1986) (“Section

 105 sets out the power of the bankruptcy court to fashion orders as necessary pursuant to the

 purposes of the Bankruptcy Code.”); Bird v. Crown Convenience (In re NWFX, Inc.), 864 F.2d

 588, 590 (8th Cir. 1988) (“The overriding consideration in bankruptcy . . . is that equitable

 principles govern”); In re Cooper Props. Liquidating Trust, Inc., 61 B.R. 531, 537 (Bankr.

 W.D. Tenn. 1986) (“[T]he Bankruptcy Court is one of equity and as such it has a duty to

 protect whatever equities a debtor may have in property for the benefit of its creditors as long

 as that protection is implemented in a manner consistent with the bankruptcy laws.”).

        102.   Section 105(d) of the Bankruptcy Code provides:

               The court, on its own motion or on the request of a party in interest, (1)
               shall hold such status conferences as are necessary to further the
               expeditious and economical resolution of the case; and (2) and unless
               inconsistent with another provision of this title or with applicable Federal
               Rules of Bankruptcy Procedure, may issue an order at any such
               conference prescribing such limitations and conditions as the court deems
               appropriate to ensure that the case is handled expeditiously and
               economically . . . .

 11 U.S.C. § 105(d) (emphasis added).

        103.   The unique circumstances of this case warrant implementation of the RMBS

 Protocol.   The RMBS Trustees are obligated to provide loan-level proof of their claims

 pursuant to the repurchase clauses in the Governing Agreements.            Prior to Lehman’s

 bankruptcy, repurchase demands on LBHI-sponsored RMBS trusts were made and carefully

 validated on a loan-by-loan basis, as required by the Governing Agreements.             Neither

 Lehman’s bankruptcy, nor the filing of their proofs of claim, enables the RMBS Trustees to


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 recover without the required proof. See LTV Steel Corp. v. Shalala (In re Chateaugay Corp.),

 53 F.3d 478, 497 (2d Cir. 1995) (“A [valid bankruptcy] claim exists only if before the filing of

 the bankruptcy petition, the relationship between the debtor and creditor contained all of the

 elements necessary to give rise to a legal obligation — ‘a right of payment’ — under the

 relevant non-bankruptcy law.”) (emphasis added, quotations omitted). In this case, the legal

 relationship between Lehman and the RMBS Trustees is governed by the Governing

 Agreements. Pursuant to the Governing Agreements, loan-level proof is a predicate to any

 repurchase recovery.

        104.    Yet, more than six years have passed since the Debtors’ bankruptcy filing, more

 than five years have passed since the Bar Date, and over three years have passed since the

 Court notified the RMBS Trustees that they will be required to produce individual loan files

 and prove up their Claims.      Implementation of an expeditious and economic process is

 necessary. The RMBS Protocol meets these criteria by creating a clear and consistent process

 that will facilitate the resolution of the RMBS Trustees’ Claims in an expeditious manner.

        105.    Specifically, the RMBS Protocol proposes the following steps:

        Step 1: Production and review of claims files process. In this first step, the
        RMBS Trustees, within sixty (60) days of the entry of the order establishing the
        RMBS Protocol, shall deliver to the Plan Administrator complete claim files on a
        loan-by-loan basis. The Plan Administrator will then determine whether it agrees
        with the alleged material breaches identified in each claim file. Approved claim
        files will proceed directly to claim allowance (Step 3 below). Rejected claim files
        will proceed to a claim facilitation process (Step 2 below). Any RMBS Claims
        related to claim files not delivered within the sixty (60) day deadline would be
        disallowed.
        Step 2: Non-binding dispute resolution procedure to resolve claim files disputes.
        In this second step, a Court-appointed claim facilitator will oversee a non-binding
        claims resolution process. The process will involve submission by each party of a
        brief statement laying out its position with respect to a disputed claim file. The
        claim facilitator will then review the disputed file and make a determination on
        the validity of the claimed breach, which shall be filed with the Court.



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        Step 3: Court review and approval of claims. In this third and final step, the Plan
        Administrator will proceed with distributions on approved and/or agreed upon
        claims. With respect to disputed claim files reviewed by the claim facilitator
        (described in Step 2), if there is no objection to the claim facilitator’s decision, the
        Court would then proceed with approval or rejection of those claim files. For
        claim files where there is a dispute over the claim facilitator’s decision, the Court
        would allow a further objection process, at the end of which any outstanding
        disputed claim files will be resolved and distributions from the estate, if any, shall
        proceed.

        106.    Implementation of the RMBS Protocol will not unduly delay administration of

 the estate, as the RMBS Protocol contemplates an expedited, but achievable, resolution of the

 RMBS Claims. Further, implementation of the RMBS Protocol will not prejudice the RMBS

 Trustees’ substantive rights as the RMBS Protocol provides the RMBS Trustees with sufficient

 opportunity to prosecute the RMBS Claims, especially in light of the number of years that have

 passed since the claims were filed. If the RMBS Trustees have been fulfilling their obligations

 under the Governing Agreements, they should be in a position to produce the necessary files

 under the RMBS Protocol within 60 days. If not, the delay is of their own doing, and this estate

 should not be penalized for their inactivity.

                                                 NOTICE

        107.    No trustee has been appointed in these Chapter 11 cases. Lehman has or will

 provide notice of this Objection and Cross-Motion on (i) the U.S. Trustee for Region 2; (ii) the

 attorneys for the Creditors’ Committee; (iii) the Securities and Exchange Commission; (iv) the

 Internal Revenue Service; (v) the United States Attorney for the Southern District of New

 York; (vi) the attorneys for each of the RMBS Trustees; and (vii) all other parties entitled to

 notice in accordance with the procedures set forth in the Second Amended Order, entered on

 June 17, 2010, governing case management and administrative procedures for these cases.

 (Dkt. No. 9635) The Plan Administrator submits that no other or further notice is necessary or

 required.


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        108.    Except as set forth herein, no previous request for the relief sought herein has

 been made to this or any other Court.

        109.    The Plan Administrator has cited to the legal authorities upon which it relies

 within the body of this Objection and Cross-Motion. Accordingly, the Plan Administrator

 respectfully submits that the Objection and Cross-Motion satisfy the requirement of Local

 Bankruptcy Rule 9013-1(b) that a memorandum of law be submitted herewith.

                                         CONCLUSION

        110.    WHEREFORE Lehman respectfully requests: (a) entry of an order denying the

 Motion; (b) entry of an order, substantially in the form annexed hereto as Exhibit D approving

 the RMBS Protocol; and (c) and further relief as may be just or proper.

 Dated: October 15, 2014
        New York, New York
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